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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS


KIN-YIP CHUN, Individually and on Behalf of        Case No. __________
All Others Similarly Situated,
                                                    COMPLAINT FOR VIOLATIONS OF THE
                              Plaintiff,
                                                          FEDERAL SECURITIES LAWS
v.
                                                            JURY TRIAL DEMANDED
FLUOR CORPORATION, DAVID T.
SEATON, BIGGS C. PORTER and BRUCE A.
STANSKI,

                              Defendants.

                               CLASS ACTION COMPLAINT

       Plaintiff Kin-Yip Chun (“Plaintiff”), by his attorneys, except for his own acts, which are

based on knowledge, alleges the following based upon the investigation of counsel, which

included a review of United States Securities and Exchange Commission (“SEC”) filings by

Fluor Corporation (“Fluor” or the “Company”), as well as regulatory filings and reports,

securities analyst reports and advisories by the Company, press releases and other public

statements issued by the Company, and media reports about the Company. Plaintiff believes that

additional evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery:

                                 NATURE OF THE ACTION

       1.     This is a federa1 securities class action on behalf of all investors who purchased

or otherwise acquired Fluor common stock from August 14, 2013 through May 3, 2018,

inclusive (the “Class Period”), seeking to recover compensable damages caused by Defendants’

violations of federal securities laws and pursue remedies under the Securities Exchange Act of

1934 (the “Exchange Act”).
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                                 JURISDICTION AND VENUE

       2.      The federal law claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. § 240.10b-5).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331, Section 27 of the Securities Act (15 U.S.C. §78aa.). This Court has

jurisdiction over each Defendant named herein because each Defendant is an individual who has

sufficient minimum contacts with this District so as to render the exercise of jurisdiction by the

District Court permissible under traditional notions of fair play and substantial justice.

       4.      Venue is proper in this District pursuant to Section 27 of the Exchange Act, and

28 U.S.C. § 1391(b) because certain of the acts alleged herein, including the preparation and

dissemination of material false and/or misleading information, occurred in this District.

                                             PARTIES

       5.      Plaintiff purchased Fluor common stock within the Class Period and, as a result,

was damaged thereby. Plaintiff’s certification evidencing his transactions is attached hereto as

Exhibit A.

       6.      Defendant Fluor is incorporated in Delaware with its principal offices located at

6700 Las Colinas Boulevard, Irving, Texas 75039. Fluor’s common stock trades on the New

York Stock Exchange (“NYSE”) under the ticker symbol “FLR.”

       7.      Defendant David T. Seaton (“Seaton”) was the Chief Executive Officer (“CEO”)

and Chairman of the Company at all relevant times.

       8.      Defendant Biggs C. Porter (“Porter”) was the Chief Financial Officer (“CFO”)

from the beginning of the Class Period to August 4, 2017.



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       9.      Defendant Bruce A. Stanski (“Stanski”) was the Company’s CFO from August 4,

2017 to the end of the Class Period.

       10.     Defendants in paragraphs 7-9 are collectively referred to herein as the “Individual

Defendants.”

       11.     Each of the Individual Defendants:

               (a)    directly participated in the management of the Company;

               (b)    was directly involved in the day-to-day operations of the Company at the

                      highest levels;

               (c)    was directly or indirectly involved in drafting, producing, reviewing

                      and/or disseminating the false and misleading statements and information

                      alleged herein;

               (d)    was directly or indirectly involved in the oversight or implementation of

                      the Company’s internal controls;

               (e)    was aware of or deliberately recklessly disregarded the fact that the false

                      and misleading statements were being issued concerning the Company;

                      and/or

               (f)    approved or ratified these statements in violation of the federal securities

                      laws.

       12.     Because of the Individual Defendants’ positions within the Company, they had

access to undisclosed information about Fluor’s business, operations, operational trends,

financial statements, markets and present and future business prospects via access to internal

corporate documents (including the Company’s operating plans, budgets and forecasts and

reports of actual operations and performance), conversations and connections with other



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corporate officers and employees, attendance at management and Board meetings and

committees thereof and via reports and other information provided to them in connection

therewith.

       13.     As officers of a publicly-held company whose securities were, and are, registered

with the SEC pursuant to the federal securities laws of the United States, the Individual

Defendants each had a duty to disseminate prompt, accurate and truthful information with

respect to the Company’s financial condition and performance, growth, operations, financial

statements, business, markets, management, earnings and present and future business prospects,

and to correct any previously-issued statements that had become materially misleading or untrue,

so that the market price of the Company’s publicly-traded securities would be based upon

truthful and accurate information. The Individual Defendants’ misrepresentations and omissions

during the Class Period violated these specific requirements and obligations.

       14.     The Individual Defendants, because of their positions with the Company,

possessed the power and authority to control the contents of Fluor’s reports to the SEC, press

releases, and presentations to securities analysts, money and portfolio managers, and institutional

investors, i.e., the market. Each Individual Defendant was provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,

their issuance and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of their positions and access to material non-public information available to

them, each of these defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive representations

which were being made were then materially false and/or misleading. The Individual Defendants

are liable for the false statements pleaded herein, as those statements were each “group-



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published” information, the result of the collective actions of the Individual Defendants.

        15.     Each of the Individual Defendants are liable as a participant in a fraudulent

scheme and course of business that operated as a fraud or deceit on purchasers of Fluor common

stock by disseminating materially false and misleading statements and/or concealing material

adverse facts. The scheme: (i) deceived the investing public regarding Fluor’s business,

operations, management and the intrinsic value of its securities and (ii) caused Plaintiff and other

shareholders to purchase Fluor securities at artificially inflated prices.

                                SUBSTANTIVE ALLEGATIONS

   A.         Company Background

        16.     Fluor is a holding company providing through various entities engineering,

procurement, construction, fabrication and modularization, commissioning and maintenance and

management services for clients (including the U.S. federal government) in industries such as oil

and gas, chemicals and petrochemicals, mining and metals, transportation, power, life sciences

and advanced manufacturing.

        17.     Fluor’s business is divided into four principal segments: Energy, Chemicals &

Mining; Industrial, Infrastructure & Power; Diversified Services; and Government.

        18.     Through the Industrial, Infrastructure & Power segment, Fluor provides design,

engineering, procurement, construction and project management services to transportation, life

sciences, advanced manufacturing, water and power sectors.

        19.     In the gas market, Fluor offers engineering, procurement, construction, program

management, start-up and commissioning and technical services, notably related to the

construction of gas-fired power generation facilities.




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           20.      Fluor performs different contracts, either “reimbursable contracts” or “fixed-price

contracts.” Fixed-priced contracts include lump-sum contracts, negotiated fixed-price contracts

and unit price contracts. Under lump-sum contracts, Fluor typically bids on a contract based

upon specifications provided by a client. Under negotiated fixed-price contracts, Fluor would be

first selected as contractor before negotiating. Under unit price contracts Fluor is paid a set

amount for every unit of work performed under a cost saving performance basis: if Fluor

performs well, it will benefit from cost savings; if the project does not proceed as originally

planned, the project cost overruns.

           21.      On August 2, 2012, Fluor announced that it was awarded the contract to build

Dominion Energy, Inc.’s Brunswick County Power Station (the “Brunswick Project”), a natural

gas-fired power station in Brunswick County, VA; an investment exceeding more than $1

billion.

    B.           Material Misstatements and Omissions during the Class Period

           22.      The Class Period begins on August 14, 2013, when Fluor issued a press release

announcing the beginning of the construction of a natural gas-fueled power station in Brunswick

County, Virginia (“August 2013 Press Release”). Therein, Fluor stated in relevant part:

           IRVING, Texas--(BUSINESS WIRE)--Fluor Corporation (NYSE: FLR)
           announced today that it received full notice to proceed from Dominion Virginia
           Power (NYSE: D) to begin construction on the company’s new 1,358-megawatt,
           natural gas-fueled power station in Brunswick County, Virginia. This award
           follows the limited notice to proceed contract that Dominion awarded to Fluor in
           August 2012. Fluor booked approximately $800 million into backlog during the
           third quarter of 2013.

           “Fluor is pleased that the project has received the approval from the Virginia State
           Corporation Commission to move forward with construction,” said Matt
           McSorley, senior vice president and head of Fluor’s Power business. “We look
           forward to continuing to provide Dominion with our full suite of engineering,
           procurement and construction services on this significant new power source in the
           eastern United States.”

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       Fluor began providing engineering and procurement services on the plant from its
       Charlotte, North Carolina office last year while Dominion awaited regulatory
       approvals to begin construction. The project is expected to staff approximately
       600 craft workers at peak during the construction phase.

       On August 2, 2013, Dominion received approval from the Virginia State
       Corporation Commission to move forward with construction. The new combined
       cycle, natural gas-fired power station will meet increased customer demand and
       replace electricity from older coal-fired generating units that are being retired.
       The Brunswick County Power Station is expected to begin providing commercial
       service in the summer of 2016.

       Over the past 10 years, Fluor has provided engineering, procurement, construction
       and commissioning services for more than 34,000 megawatts of gas-fired power
       facilities.

Emphasis added.

       23.       On May 1, 2014, Fluor issued a press release, also attached as exhibit 99.1 to the

Form 8-K filed with the SEC announcing the Company’s financial and operating results for the

first fiscal quarter ended March 31, 2014 (“Q1 2014 Press Release”). For the quarter, the

Company reported net earnings of $149 million or $0.92 per diluted share, compared to a net

earnings of $166 million in the previous year’s comparable quarter. The press release stated in

relevant part:

       IRVING, TEXAS — May 1, 2014 — Fluor Corporation (NYSE: FLR) today
       announced financial results for its first quarter ended March 31, 2014. Net
       earnings attributable to Fluor for the first quarter were $149 million, or $0.92 per
       diluted share, compared to $166 million, or $1.02 per diluted share a year ago.
       Consolidated segment profit for the quarter was $268 million, compared to $294
       million in the first quarter of 2013. Segment profit results included a 32 percent
       increase in Oil & Gas, offset by declines in the Company’s other segments.
       Revenue for the first quarter was $5.4 billion, down from $7.2 billion last year,
       mainly due to a significant reduction in revenue from the Industrial &
       Infrastructure segment’s mining and metals business line.

       New awards for the quarter were a record $10.7 billion, including $8.8 billion in
       Oil & Gas, $924 million in Industrial & Infrastructure and $748 million in
       Government. Consolidated backlog at the end of the quarter rose to $40.2 billion,
       up $5.3 billion over last quarter, and up from $37.5 billion a year ago.

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       “Our Oil & Gas group continues to perform extremely well, posting nearly $9
       billion in new awards and growing profitability by 32 percent,” said Chairman
       and Chief Executive Officer David Seaton. “However, our overall expectations
       for the year are tempered by continued weakness in a number of our other end
       markets.”

Emphasis added.

       24.       During a conference call to discuss the Company’s financial and operating results

for the first fiscal quarter ended March 31, 2014 (“Q1 2014 Conf. Call”), Fluor’s CEO,

Chairman of the Board and Chairman of the Executive Committee, Defendant Seaton stated in

relevant part:

       In the Power segment, new awards were $166 million, and ending backlog was
       $1.9 billion, comparable with the $1.9 billion a year ago. Although the market is
       very competitive, we're bidding a number of gas-fired power generation facilities
       and expect awards over the next few quarters. Although book and burn from
       these projects would be light in the current year, the number of opportunities is
       important to our prospects for growth in Power in 2015.

                                          *      *       *

       And then I think Power, I mean, one of the things that's in front of us, as we've
       said in previous calls and certainly in this call, there's a lot of combined cycle gas-
       fired power plants that we're bidding. I think we -- I think there's 7 of them that
       we're in bid right now.

Emphasis added.

       25.       When analyst Tate Sullivan from CLSA Limited inquired about the scale of the

order opportunity with the seven bids for gas-fired plants, Defendant Seaton responded that it

was “somewhere in the neighborhood of $2 billion, $1.7 billion to $2 billion in revenue - - new

order revenue.”

       26.       On October 30, 2014, Fluor announced the Company’s financial and operating

results for the third fiscal quarter ended September 30, 2014. During a conference call to discuss

the results (“Q3 2014 Conf. Call”), Defendant Seaton stated in relevant part:

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       The Power segment new awards were $382 million, as I said, including
       engineering and construction for new gas-fired power plant in South Carolina.
       Ending backlog was $1.8 billion compared to 2.8 -- $2.1 billion a year ago. We
       continue to bid for new gas-fired opportunities in North America and expect
       opportunities for power generation and plant betterment to improve in 2015.

       27.     On February 18, 2015, Fluor filed a Form 10-K with the SEC announcing the

Company’s financial and operating results for the fiscal fourth quarter and fiscal year ended

December 31, 2014 (“2014 10-K”), which was signed and certified under the Sarbanes Oxley

Act of 2002 by the Individual Defendants. For the year, the Company reported net earnings of

$715 million, or $4.48 per diluted share, compared to net earnings of $668 million in the

previous year. The 2014 10-K stated in pertinent part:

               Revenue in 2014 was 28 percent lower compared to 2013, primarily due to
       a decrease in project execution activities on two solar power projects in the
       western United States and a gas-fired power plant in Texas, all of which reached
       substantial completion during the year. The overall revenue decline was partially
       offset by a significant increase in project execution activities for a gas-fired
       power plant in Virginia. Revenue in 2013 was 65 percent higher compared to
       2012, primarily attributable to a significant increase in project execution activities
       for a solar power project in the western United States and two gas-fired power
       plant projects in Texas and Virginia. Some of the revenue increase in 2013 was
       offset by reduced volume on certain domestic projects progressing towards
       completion.

                Segment profit for 2014 increased significantly compared to 2013
       principally due to greater contributions from an increase in project execution
       activities for the gas-fired power plant in Virginia and from the substantial
       completion of the gas-fired power plant in Texas, as well as reduced NuScale
       expenses, net of qualified reimbursable expenditures, as discussed below. The
       overall increase was partially offset by reduced contributions from various
       projects that were completed or progressing to completion during 2014, including
       the two solar power projects in the western United States. Segment profit for 2013
       increased significantly compared to 2012 principally due to increased
       contributions from a solar power project in the western United States and a
       decrease in expenses associated with NuScale.

                                         *       *       *

              Although there has been a recent increase in bidding and proposal activity,
       the Power segment continues to be impacted by relatively weak demand for new

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       power generation. Market segments with the most likely new near-term
       opportunities include gas-fired combined cycle generation, renewable energy and
       air emissions compliance projects for existing coal-fired power plants. New
       awards of $1.1 billion in 2014 included a nuclear power plant maintenance
       project in California and a gas-fired power plant project in South Carolina.
       New awards of $1.5 billion in 2013 included a natural gas-fired power plant
       project in Virginia. New awards of $884 million in 2012 included a solar power
       project in the western United States. Backlog was $2.1 billion as of December 31,
       2014, $2.0 billion as of December 31, 2013 and $1.9 billion as of December 31,
       2012.

Emphasis added.

       28.       On July 30, 2015, Fluor announced the Company’s financial and operating results

for the first fiscal quarter ended June 30, 2015. During a conference call to discuss the results

(“Q2 2015 Conf. Call”), analyst Jerry David Revich from Goldman Sachs & Co. LLC inquired

about the cadence of the projects in the power market, to which Defendant Seaton responded in

relevant part:

       Jerry David Revich - Goldman Sachs & Co.

       And David, in Power you mentioned now that the uncertainty has gone, projects
       are moving forward. Can you just give us a sense of your views on the cadence,
       how many projects do you think move forward within the next 12 months to 24
       months, just flesh out you visibility for us, if you could?

       David Thomas Seaton - Chairman & Chief Executive Officer

       There is numerous gas-fired combined cycle plants being planned and we're
       focused on a lot of them. We've got three that we're working on right now in
       varying stages, two with Duke and one with Dominion that the final notice to
       procedure on that project is not even in backlog yet. So I would argue that there is
       10 to 20 on the books that will happen over the next probably five years, or at
       least, they'll go to limited notice to proceed in the next five years. So, I think
       we've got kind of a good solid earnings stream ahead of us in terms of gas
       plants, and the replacement of some of the coal fleet that's been planned.

       When you look at the power margin there – power production margin, it still
       hasn't gotten to the point where it's putting pressure on these companies to put
       more capacity online. So I think we got to see some macro things happen in terms
       of the economy and people starting to build other things to use up the power



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       margin to where they have to do that. So it's kind of replacing coal and it's also
       capacity and the capacity side isn't supporting a rapid advance of those projects.

Emphasis added.

       29.     On February 18, 2016, Fluor filed a Form 10-K with the SEC announcing the

Company’s financial and operating results for the fiscal fourth quarter and fiscal year ended

December 31, 2015 (“2015 10-K”), which was signed and certified under the Sarbanes Oxley

Act of 2002 by the Individual Defendants. For the year, the Company reported net earnings of

$418 million, or $2.85 per diluted share, compared to net earnings of $715 million in the

previous year. In the 2015 10-K, Fluor stated in pertinent part:

                Revenue in 2015 decreased 6 percent compared to 2014, principally due to
       a decrease in project execution activities for a solar energy project in California
       and a large gas-fired plant in Brunswick County, Virginia. The overall revenue
       decline was partially offset by increased project execution activities for several
       projects in the early stages of project execution, including a gas-fired power
       plant in Greensville County, Virginia and two large gas-fired power plants in
       South Carolina and Florida. Revenue in 2014 was 28 percent lower compared to
       2013, primarily due to a decrease in project execution activities on two solar
       power projects in the western United States and a gas-fired power plant in Texas,
       all of which reached substantial completion during 2014. The overall revenue
       decline in 2014 was partially offset by a significant increase in project execution
       activities for the gas-fired power plant in Brunswick County, Virginia.

               Segment profit for 2015 decreased significantly compared to 2014.
       Segment profit in 2015 included a loss of $60 million (including the reversal of
       previously recognized profit) resulting from forecast revisions for the gas-fired
       power plant in Brunswick County, Virginia, and an increase in NuScale expenses,
       net of qualified reimbursable expenditures. The overall decline in segment profit
       was partially offset by increased contributions from several projects in the early
       stages of project execution, as mentioned above. Segment profit for 2014
       increased significantly compared to 2013 principally due to greater
       contributions from an increase in project execution activities for the gas-fired
       power plant in Virginia and from the substantial completion of the gas-fired
       power plant in Texas, as well as reduced NuScale expenses, net of qualified
       reimbursable expenditures, as discussed below. The overall increase was partially
       offset by reduced contributions from various projects that were completed or
       progressing to completion during 2014, including the two solar power projects in
       the western United States.



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               Segment profit margin in 2015 decreased over 2014 due to the same
       factors that drove the decrease in segment profit during 2015. Segment profit
       margin improved during 2014 primarily due to increased contributions resulting
       from the substantial completion of the two solar projects and the Texas gas-fired
       power plant noted above and reduced NuScale expenses, net of qualified
       reimbursable expenditures.

                                         *       *       *

               New awards were $6.0 billion in 2015, including a $5.0 billion award
       from Westinghouse Electric Company to manage the construction workforce at
       two Westinghouse nuclear power plants projects in Georgia and South Carolina
       on a cost-plus, fixed-fee basis and a gas-fired power plant in Florida. New awards
       of $1.1 billion in 2014 included a nuclear power plant maintenance project in
       California and a gas-fired power plant project in South Carolina. New awards of
       $1.5 billion in 2013 included a natural gas-fired power plant project in Virginia.
       Backlog was $6.8 billion as of December 31, 2015, $2.1 billion as of December
       31, 2014 and $2.0 billion as of December 31, 2013.

Emphasis added.

       30.     On February 17, 2017, Fluor filed a Form 10-K with the SEC announcing the

Company’s financial and operating results for the fiscal fourth quarter and fiscal year ended

December 31, 2016 (“2016 10-K”), which was signed and certified under the Sarbanes Oxley

Act of 2002 by the Individual Defendants. For the year, the Company reported net earnings of

$281.4 million, or $2.00 per diluted share, compared to net earnings of $418 million in the

previous year. In the 2016 10-K, Fluor stated in pertinent part:

              Revenue in 2016 increased 81 percent compared to 2015, primarily due
       to increased project execution activities in the power business line for several
       projects, including two nuclear projects and several gas-fired power plants in
       the southeastern United States. Revenue in 2015 decreased 21 percent compared
       to 2014, primarily due to reduced project execution activities in the infrastructure
       business line, which was largely attributable to the completion of a domestic
       transportation project in 2014.

              Segment profit increased significantly in 2016 compared to 2015
       primarily due to the higher volume of project execution activities for the power
       projects mentioned above, as well as the adverse impact in the prior year of a loss
       of $60 million resulting from forecast revisions on a large gas-fired power plant in
       Brunswick County, Virginia. Segment profit decreased significantly in 2015

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      compared to 2014. Factors contributing to the decline in segment profit during
      2015 included the aforementioned loss on the gas-fired power plant in Brunswick
      County, Virginia, reduced contributions from the infrastructure business line
      resulting from the completion of a domestic transportation project in 2014 and an
      increase in NuScale expenses, net of qualified reimbursable expenditures.

             Segment profit margin significantly increased in 2016 compared to the
      prior year principally driven by the same factors affecting segment profit.
      Segment profit margin in 2015 decreased over 2014 due to the same factors that
      drove the decrease in segment profit during 2015.

             The Industrial, Infrastructure & Power segment includes the operations of
      NuScale, which are primarily research and development activities. NuScale
      expenses, net of qualified reimbursable expenditures, included in the
      determination of segment profit, were $92 million, $80 million and $46 million
      for 2016, 2015 and 2014, respectively.

              New awards in the Industrial, Infrastructure & Power segment were
      $6.2 billion during 2016, $7.1 billion during 2015 and $2.3 billion during 2014.
      New awards in 2016 were primarily in the infrastructure business line and
      included the Purple Line Light Rail Transit Project in Maryland, the Loop 202
      South Mountain Freeway Project in Arizona, the Port Access Road Project in
      South Carolina, an award on a combined-cycle power plant in Greensville
      County, Virginia and a pharmaceutical manufacturing facility in North Carolina.
      New awards in 2015 included a $5.0 billion award from Westinghouse Electric
      Company to manage the construction workforce at two Westinghouse nuclear
      power plant projects in Georgia and South Carolina on a cost-plus, fixed-fee
      basis, a gas-fired power plant in Florida and a highway project in Texas. New
      awards in 2014 included A9 Holendrecht — Diemen road project in the
      Netherlands, a gas-fired power plant project in South Carolina and a large
      manufacturing facility in the United States.

              Backlog in the Industrial, Infrastructure & Power segment was
      $15.1 billion as of December 31, 2016, $9.7 billion as of December 31, 2015 and
      $5.0 billion as of December 31, 2014. The increases in backlog during 2016
      primarily resulted from project adjustments in the power business line for the two
      Westinghouse nuclear power plant projects discussed above and new awards in
      the infrastructure business line. The increase in backlog during 2015 resulted from
      new awards in the power business line discussed above.

Emphasis added.

      31.    The statements in paragraphs ¶18-21 above were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts



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pertaining to the Company’s business, operations, and prospects, which were known to

Defendants or recklessly disregarded by them. Specifically, Defendants failed to disclose that: (i)

Fluor’s bidding process for the gas-fired projects was flawed; (ii) Fluor had improperly estimated

the gas-fired projects; (iii ) as a result, Fluor would face craft productivity issues, equipment

issues and other execution issues; (iv) Fluor would incur multiple charges impacting quarterly

results; (v) Fluor would ultimately decide to discontinue the pursuit of the gas-fired power

market; and (vi) as a result of the foregoing, Defendants’ statements about Fluor’s business,

operations, and prospects, were false and misleading and/or lacked a reasonable basis.

   C.         The Truth Begins to Emerge

        32.     On August 3, 2017, after the market close, Fluor issued a press release, also

attached as exhibit 99.1 to the Form 8-K filed with the SEC announcing the Company’s financial

and operating results for the second fiscal quarter and six month ended June 30, 2017 (“Q2 2017

Press Release”). For the quarter, the Company reported a net loss of $24 million, or $0.17 per

diluted share, compared to net earnings of $102 million in the previous year’s comparable

quarter. The press release stated in relevant part:

        IRVING, TEXAS — August 3, 2017 — Fluor Corporation (NYSE: FLR) today
        announced financial results for its second quarter ended June 30, 2017. The
        second quarter was a net loss attributable to Fluor of $24 million, or $0.17 per
        diluted share, compared to net earnings attributable to Fluor of $102 million, or
        $0.72 per diluted share a year ago. Results for the quarter include an after-tax
        charge of $124 million, or $0.89 per diluted share, for estimated cost increases
        on three gas-fired power projects. Consolidated segment profit for the quarter
        was $15 million, down from $230 million a year ago. Second quarter revenue was
        $4.7 billion compared to $4.9 billion in the prior year.

                New awards for the quarter were $3.2 billion, including $1.1 billion in
        Government, $860 million in Energy, Chemicals & Mining, $672 million in
        Industrial, Infrastructure & Power and $554 million in Diversified Services.
        Consolidated ending backlog was $37.6 billion.




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              “The challenges we have experienced over the last two years on gas-
       fired power projects are inconsistent with the results we have historically
       achieved,” said David Seaton, Fluor chairman and chief executive officer. “With
       the recent leadership and organizational changes made in our power segment, a
       reassessment of the power market is underway to determine where the gas-fired
       power business offers adequate return opportunities consistent with our
       expectations and long term experience.”

              Corporate G&A expense for the second quarter of 2017 was $47 million,
       compared to $53 million a year ago. Fluor’s cash and marketable securities
       balance at the end of the second quarter was $2.1 billion. During the quarter, the
       company generated $158 million in cash from operating activities, and paid out
       $29 million in dividends.
       Outlook

               As a result of the charge in Industrial, Infrastructure & Power, and, to a
       lesser extent the wind down of the V.C. Summer Nuclear Station project, the
       Company is revising its 2017 guidance for EPS to a range of $1.40 to $1.70 per
       diluted share, from the previous range of $2.25 to $2.75 per diluted share.

       Business Segments

               Fluor’s Energy, Chemicals & Mining segment reported segment profit of
       $127 million, compared to $126 million in the second quarter of 2016. Second
       quarter revenue of $2.3 billion declined from $2.5 billion a year ago primarily due
       to reduced activity on Gulf Coast chemicals projects. New awards for the segment
       totaled $860 million and ending backlog was $19.2 billion compared to $25
       billion a year ago.

               The Industrial, Infrastructure & Power segment reported a segment loss of
       $168 million, compared to a segment profit of $51 million in the second quarter
       of 2016. Results for the quarter include approximately $194 million in pre-tax
       project expenses related to forecast adjustments on three gas-fired power projects.
       Revenue for the segment was flat at $1 billion compared to a year ago. New
       awards in the second quarter were $672 million, including the Southern Gateway
       highway project in Texas. Ending backlog for the segment was $11.4 billion,
       compared to $12.7 billion a year ago, and reflects an adjustment for the V.C.
       Summer Nuclear Station project that is winding down.

Emphasis added.

       33.     During a conference call to discuss the Company’s financial and operating results

for the second fiscal quarter and six month ended June 30, 2017 (“Q2 2017 Conf. Call”),

Defendant Seaton stated in relevant part:

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          I want to start our call today discussing the issues we're experiencing in our
          Industrial, Infrastructure & Power segment, and specifically the concerns on three
          gas-fired projects currently under construction. All three projects, four if you
          include the Brunswick project that incurred a charge in 2015, had a
          fundamental problem. And the projects did not meet the original baseline
          assumptions due to improper estimating, craft productivity and equipment
          issues. All of these projects were bid in 2014 by the same pursuit team.

Emphasis added.

          34.      On this news, Fluor’s price per share of common stock declined $3.80 from a

close of $43.86 on August 3, 2017, to a close of $40.06 per share of common stock on August 4,

2017, a drop of approximately 8.7%.

    D.          Additional Misstatements During the Class Period

          35.      On November 2, 2017, after the market close, Fluor announced the Company’s

financial and operating results for the first fiscal quarter ended September 30, 2017. During a

conference call to discuss the Company’s results (“Q3 2017 Conf. Call”), Defendant Seaton

stated “I'm pleased to report we made solid progress on the three gas-fired power plants we're

currently executing and remain on track to complete two of those projects in the first part of

next year with the final project to be completed in late 2018.”

          36.      On February 20, 2018, Fluor filed a Form 10-K with the SEC announcing the

Company’s financial and operating results for the fourth fiscal quarter and year ended December

31, 2017 (“2017 10-K”). For the year, the Company reported net earnings of $191 million, or

$1.36 per diluted share, compared to net earnings of $281 million in the previous year. During a

conference call to discuss the Company’s results (“FY 2017 Conf. Call”), Defendant Seaton

stated:

          Regarding the remaining three gas-fired power plants we're currently executing,
          one project is substantially complete and in commissioning in start-up activity
          phases. The remaining two projects are approximately 75% complete and will be



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        completed by year end. One of these projects incurred an additional charge of $41
        million in the quarter.

                                          *       *      *

        When you think about power in general, we'll continue to pursue projects --
        gas-fire projects and other renewables. We're looking at pursuing nuclear in
        Saudi Arabia and some other places; so I mean it's one of these things where I go
        back to my comment just a minute ago about discipline. And in hearing to that
        integrated solutions approach; so I think that there are some opportunities out
        there that are on the gas side kind of near-term, say this year. And I think the
        other stuff is in the out years but we're going to continue to pursue in other things
        that make sense in the power sector. We do have some good projects in that
        market as opposed to the four that we've dealt with over the last two years, and
        we'll continue to push that market as well.

Emphasis added.

        37.      The statements in paragraphs ¶35-36 above were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operations, and prospects, which were known to

Defendants or recklessly disregarded by them. Specifically, Defendants failed to disclose that: (i)

Fluor’s bidding process for the gas-fired projects was flawed; (ii) Fluor had improperly estimated

the gas-fired projects; (iii ) as a result, Fluor would face craft productivity issues, equipment

issues and other execution issues; (iv) Fluor would incur multiple charges impacting quarterly

results; (v) Fluor would ultimately decide to discontinue the pursuit of the gas-fired power

market; and (vi) as a result of the foregoing, Defendants’ statements about Fluor’s business,

operations, and prospects, were false and misleading and/or lacked a reasonable basis.

   E.         The Truth Emerges

        38.      On May 3, 2018, after the market close, Fluor issued a press release, also attached

as exhibit 99.1 to the Form 8-K filed with the SEC announcing the Company’s financial and

operating results for the first fiscal quarter ended March 31, 2018 (“Q1 2018 Press Release”).



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For the quarter, the Company reported a net loss of $18 million, or $0.13 per diluted share,

compared to net earnings of $61 million in the previous year’s comparable quarter. The press

release stated in relevant part:

        IRVING, TEXAS — May 3, 2018 — Fluor Corporation (NYSE: FLR) today
        announced financial results for its first quarter ended March 31, 2018. The first
        quarter was a net loss attributable to Fluor of $18 million, or $0.13 per diluted
        share, compared to net earnings of $61 million, or $0.43 per diluted share a year
        ago. Results for the quarter include an after-tax charge of approximately $96
        million, or $0.69 per diluted share, for forecast revisions on a gas-fired power
        project. Consolidated segment profit for the quarter was $52 million, compared to
        $133 million a year ago. First quarter revenue of $4.8 billion was flat compared to
        a year ago.
                New awards for the quarter were $2.5 billion, including $1.3 billion in
        Mining, Industrial, Infrastructure & Power, $721 million in Energy & Chemicals,
        $433 million in Diversified Services and $43 million in Government.
        Consolidated ending backlog of $29.1 billion compares to $41.6 billion a year
        ago.

               “Results for the quarter did not meet our expectations as a result of
        continued challenges on a gas-fired power project,” said David Seaton, Fluor
        chairman and chief executive officer. “Going forward, our primary focus will be
        on markets where we see opportunities to fully deploy our integrated solutions
        model to deliver the capital efficiency that our clients demand. This includes our
        recent announcement on the LNG Canada project, which is one of many
        opportunities we see in the second half of 2018.”

                 Corporate G&A expense for the first quarter of 2018 was $57 million,
        compared with $45 million a year ago. Expenses for the quarter include $12
        million related to foreign currency exchange losses. Fluor’s cash and marketable
        securities balance at the end of the first quarter was $1.8 billion, down from $2.1
        billion last quarter primarily due to increased working capital needs to support
        project execution activities for the power restoration project in Puerto Rico.
        During the quarter, the company utilized $136 million in cash from operating
        activities, and paid out $30 million in dividends.

        Outlook

               The company is revising its 2018 guidance for EPS to a range of $2.10
        to $2.50 per diluted share, from the previous range of $3.10 to $3.50 per diluted
        share, due in large part to forecast revisions on a gas-fired power project.




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        Business Segments

                Fluor’s Energy & Chemicals segment reported segment profit of $106
        million, compared to $84 million in the first quarter of 2017. Results for the
        quarter reflect an increase in project execution activities for a large upstream
        project. First quarter 2018 revenue was $1.9 billion compared to $2.1 billion a
        year ago. New awards for the segment totaled $721 million, and ending backlog
        was $14.1 billion compared to $19.1 billion a year ago.

                The Mining, Industrial, Infrastructure & Power segment reported a
        segment loss of $144 million, compared to a segment loss of $3 million in the first
        quarter of 2017. Results for the quarter include a pre-tax charge of
        approximately $125 million for forecast revisions on a gas-fired power project.
        Revenue for the segment declined to $910 million from $1.4 billion a year ago
        due to reduced volume of project execution activities in power. New awards in the
        first quarter were $1.3 billion including a mine expansion project in Peru. Ending
        backlog for the segment was $10.3 billion, down from $15.8 billion a year ago.

Emphasis added.

        39.     During a conference call to discuss the Company’s financial and operating results

for the first fiscal quarter ended March 31, 2018 (“Q1 2018 Conf. Call”), Defendant Seaton

stated in relevant part:

        Let's start off by discussing the challenges that we are experiencing on the same
        gas-fired power project we discussed last quarter and the steps we're taking to
        complete this project and in Fluor's participation in the specific end market.

        Craft productivity and estimating were materially different than the original
        baseline expectations we made in the initial charge on this project last year. While
        those factors were included in our initial charge, the majority of the $125 million
        charge taken this quarter is driven by extremely low ongoing productivity and the
        financial impact that this has relative to the initial expected timing of when the
        two units would be available for power production based on the current outlook.
        As of last week, this project is 86% complete, with an expected completion date
        in Q4 of this year.

        Last August we made a number of changes to our power business. This included
        bringing in new leadership, removing certain executives and closing our power
        operation office in Charlotte. I also stated that we were in the process of assessing
        the gas-fired market to determine if there are opportunities for risk-adjusted
        returns that are consistent with our expectations and long-term experience. I'd like
        to share with you the outcome of our review and the further actions that we are
        taking. I'm going to ask everyone to pay close attention.

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       The U.S. power consumption growth rate is less than 1%. Power producers do not
       really need additional capacity other than satisfying regional needs. We, the
       industry, and the entire E&C community have led our clients to believe that a gas-
       fired power project costs approximately $650 per kilowatt, although virtually no
       one has delivered one for that value.

       The customers start at that figure, negotiate it downward and there's always some
       contractor that is willing to say okay to the lower number using some excuse to
       justify the win, Fluor included. We have had 12 gas-fired power projects since
       2003. 10 of the 12 have underperformed our as-sold expectation with three
       suffering losses. Competition, both public and private, have had similar
       experiences with no current projects performing as expected.

       Some industry leaders think these are cookie cutter projects, but they are not.
       These projects have different machines, different site locations, different labor
       pools, all of which produce different outcomes. Craft labor, in this case, has been
       the major issue. Therefore, Fluor will discontinue the pursuit of lump-sum gas-
       fired power market from the end of Q1.

Emphasis added.

       40.    During the Q&A session of the conference call, Jamie L. Cook from Credit Suisse

Securities (USA) LLC inquired about the charges in the power segment and the decision to exit

the market, to which Defendant Seaton responded:

       Jamie L. Cook - Credit Suisse Securities (USA) LLC

       Hi. I guess, just a follow-up question to Steve. Understanding the industry
       leadership – you're being an industry leader in terms of exiting the gas-fired
       power business, even one of the biggest players in the industry, how do we think
       about being more proactive on the energy side? Because, to be fair, you took
       charges in power, but we've also taken charges in E&C over the past couple of
       years probably totaling about $300 million or so. So, what can you do as an
       industry leader to change the approach for contractors taking risk with the charges
       you've had and with some of your – with the other players in the industry on the
       verge of bankruptcy?

       And then my second question, understanding that you're saying you have a
       different approach from your peers with your integrated solutions model and you
       will be using that on LNG Canada, have you ever delivered a project of LNG
       Canada's size using your integrated solutions model and why should that not be
       concerning to us that we're trying this on such a large project?



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       David T. Seaton - Fluor Corp.

       Well, it is a large project, Jamie, I agree with you. But when you look at the total
       value of – when you look at the two projects in Kuwait specifically, they're
       probably the best model of that. And in those cases, our piece is $4 billion or $5
       billion. So I think, yeah, it's a bigger number. I don't think anybody's actually
       done it. Well, I know we haven't done a project that large using our tools and
       systems, but I can tell you that in the fact – let me back up. If you go back and
       you mentioned several projects in E&C, it's really one, and it's CPChem, and we
       broke that down in terms of the lessons we learned.

       Now that project as well as these power projects were bid prior to the maturation
       of our integrated solutions approach. And there are fatal flaws in the bidding
       process of all of those projects. They were execution issues that weren't properly
       covered and you didn't have the coverage ratios you expect on a project that has
       the kind of risk that those projects had, part of it driven by market in terms of
       the power business.

Emphasis added.

       41.     On this news, Fluor’s price per share of common stock declined $13.23 from a

close of $58.99 on May 3, 2018, to a close of $45.76 on May 4, 2017, a drop of approximately

22.43%.

                        ADDITIONAL SCIENTER ALLEGATIONS

       42.     As alleged herein, Defendants acted with scienter in that they knew that the public

documents and statements issued or disseminated in the name of the Company were materially

false and misleading; knew that such statements or documents would be issued or disseminated

to the investing public; and knowingly and substantially participated or acquiesced in the

issuance or dissemination of such statements or documents as primary violations of the federal

securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their receipt of

information reflecting the true facts regarding Fluor, their control over, and/or receipt and/or

modification of Fluor’s allegedly materially misleading statements and/or their associations with




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the Company which made them privy to confidential proprietary information concerning Fluor,

participated in the fraudulent scheme alleged herein.

                        LOSS CAUSATION AND ECONOMIC LOSS

       43.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the Company’s stock price,

and operated as a fraud or deceit on acquirers of the Company’s common stock. As detailed

above, when the truth about Fluor’s misconduct and its lack of operational and financial controls

was revealed, the value of the Company’s common stock declined precipitously as the prior

artificial inflation no longer propped up its stock price. The decline in Fluor’s common stock

price was a direct result of the nature and extent of Defendants' fraud finally being revealed to

investors and the market. The timing and magnitude of the common stock price decline negates

any inference that the loss suffered by Plaintiff and other members of the Class was caused by

changed market conditions, macroeconomic or industry factors or Company-specific facts

unrelated to the Defendants’ fraudulent conduct. The economic loss, i.e., damages, suffered by

Plaintiff and other Class members was a direct result of Defendants' fraudulent scheme to

artificially inflate the Company's stock price and the subsequent significant decline in the value

of the Company's share, price when Defendants' prior misrepresentations and other fraudulent

conduct was revealed.

       44.     At all relevant times, Defendants’ materially false and misleading statements or

omissions alleged herein directly or proximately caused the damages suffered by the Plaintiff

and other Class members. Those statements were materially false and misleading through their

failure to disclose a true and accurate picture of Fluor’s business, operations and financial

condition, as alleged herein. Throughout the Class Period, Defendants publicly issued materially



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false and misleading statements and omitted material facts necessary to make Defendants’

statements not false or misleading, causing Fluor’s common stock to be artificially inflated.

Plaintiff and other Class members purchased Fluor’s common stock at those artificially inflated

prices, causing them to suffer the damages complained of herein.

             PRESUMPTION OF RELIANCE; FRAUD-ON-THE-MARKET

       45.    At all relevant times, the market for Fluor common stock was an efficient market

for the following reasons, among others:

              (a) Fluor common stock met the requirements for listing, and were listed and

                  actively traded on the NYSE, a highly efficient market;

              (b) During the Class Period, Fluor common stock were actively traded,

                  demonstrating a strong presumption of an efficient market;

              (c) As a regulated issuer, Fluor filed with the SEC periodic public reports during

                  the Class Period;

              (d) Fluor regularly communicated with public investors via established market

                  communication mechanisms;

              (e) Fluor was followed by securities analysts employed by major brokerage firms

                  who wrote reports that were distributed to the sales force and certain

                  customers of brokerage firms during the Class Period. Each of these reports

                  was publicly available and entered the public marketplace; and

              (f) Unexpected material news about Fluor was rapidly reflected in and

                  incorporated into the Company's stock price during the Class Period.

       46.    As a result of the foregoing, the market for Fluor common stock promptly

digested current information regarding Fluor from all publicly available sources and reflected



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such information in Fluor’s stock price. Under these circumstances, all purchasers of Fluor

common stock during the Class Period suffered similar injury through their purchase of Fluor’s

common stock at artificially inflated prices, and a presumption of reliance applies.

       47.     Alternatively, reliance need not be proven in this action because the action

involves omissions and deficient disclosures. Positive proof of reliance is not a prerequisite to

recovery pursuant to ruling of the United States Supreme Court in Affiliated Ute Citizens of Utah

v. United States, 406 U.S. 128 (1972). All that is necessary is that the facts withheld be material

in the sense that a reasonable investor might have considered the omitted information important

in deciding whether to buy or sell the subject security. Here, the facts withheld are material

because an investor would have considered the Company’s financials and adequacy of internal

controls over financial reporting when deciding whether to purchase and/or sell stock in Fluor.

          NO SAFE HARBOR; INAPPLICABILITY OF BESPEAKS CAUTION
                               DOCTRINE

       48.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the material misrepresentations and omissions alleged in

this Complaint.

       49.     To the extent certain of the statements alleged to be misleading or inaccurate may

be characterized as forward looking, they were not identified as “forward-looking statements”

when made and there were no meaningful cautionary statements identifying important factors

that could cause actual results to differ materially from those in the purportedly forward-looking

statements.

       50.     Defendants are also liable for any false or misleading “forward-looking

statements” pleaded because, at the time each “forward-looking statement” was made, the

speaker knew the “forward-looking statement” was false or misleading and the “forward-looking


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statement” was authorized and/or approved by an executive officer of Fluor who knew that the

“forward-looking statement” was false. Alternatively, none of the historic or present-tense

statements made by the defendants were assumptions underlying or relating to any plan,

projection, or statement of future economic performance, as they were not stated to be such

assumptions underlying or relating to any projection or statement of future economic

performance when made, nor were any of the projections or forecasts made by the defendants

expressly related to or stated to be dependent on those historic or present-tense statements when

made.

                              CLASS ACTION ALLEGATIONS

        51.    Plaintiff brings this action on behalf of all individuals and entities who purchased

or otherwise acquired Fluor common stock on the public market during the Class Period, and

were damaged, excluding the Company, the defendants and each of their immediate family

members, legal representatives, heirs, successors or assigns, and any entity in which any of the

defendants have or had a controlling interest (the “Class”).

        52.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Fluor securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Fluor or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions. Upon information and belief, as of April 27, 2018, Fluor had more than

140,587,114 shares of common stock outstanding. Upon information and belief, these shares are



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held by thousands if not millions of individuals located geographically throughout the country

and possibly the world. Joinder would be highly impracticable.

        53.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by the defendants’ respective wrongful conduct in

violation of the federal laws complained of herein.

        54.     Plaintiff has and will continue to fairly and adequately protect the interests of the

members of the Class and have retained counsel competent and experienced in class and

securities litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        55.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                (a)     whether the federal securities laws were violated by the defendants’

        respective acts as alleged herein;

                (b)     whether the defendants acted knowingly or with deliberate recklessness in

        issuing false and misleading financial statements;

                (c)     whether the price of Fluor securities during the Class Period was

        artificially inflated because of the defendants’ conduct complained of herein; and

                (d)     whether the members of the Class have sustained damages and, if so, what

        is the proper measure of damages.

        56.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually



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redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                              COUNT I
                  Violation of Section 10(b) and Rule 10b-5 Against All Defendants

        57.       Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        58.       During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (1) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (2) cause Plaintiff and

other members of the Class to purchase Fluor common stock at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, each of the Defendants took the

actions set forth herein.

        59.       Defendants: (a) employed devices, schemes, and artifices to defraud; (b) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (c) engaged in acts, practices, and a course of business that

operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort

to maintain artificially high market prices for Fluor securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder. All Defendants are sued either as

primary participants in the wrongful and illegal conduct charged herein or as controlling persons

as alleged below.

        60.       Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about the business,

operations and future prospects of Fluor as specified herein.

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          61.   These Defendants employed devices, schemes, and artifices to defraud while in

possession of material adverse non-public information, and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of Fluor’s value and

performance and continued substantial growth, which included the making of, or participation in

the making of, untrue statements of material facts and omitting to state material facts necessary

in order to make the statements made about Fluor and its business operations and future

prospects in the light of the circumstances under which they were made, not misleading, as set

forth more particularly herein, and engaged in transactions, practices and a course of business

that operated as a fraud and deceit upon the purchasers of Fluor common stock during the Class

Period.

          62.   Individual Defendants’ primary liability, and controlling person liability, arises

from the following facts: (1) Individual Defendants were high-level executives, directors, and/or

agents at the Company during the Class Period and members of the Company’s management

team or had control thereof; (2) each Individual Defendant, by virtue of his responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s financial condition; (3) each Individual

Defendant enjoyed significant personal contact and familiarity with the other Individual

Defendant and was advised of and had access to other members of the Company’s management

team, internal reports and other data and information about the Company’s finances, operations,

and sales at all relevant times; and (4) each Individual Defendant was aware of the Company’s

dissemination of information to the investing public which they knew or recklessly disregarded

was materially false and misleading.




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       63.     Defendants had actual knowledge of the misrepresentations and omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly

and for the purpose and effect of concealing Fluor’s operating condition and future business

prospects from the investing public and supporting the artificially inflated price of its securities.

As demonstrated by Defendants’ overstatements and misstatements of the Company’s financial

condition throughout the Class Period, Defendants, if they did not have actual knowledge of the

misrepresentations and omissions alleged, were reckless in failing to obtain such knowledge by

deliberately refraining from taking those steps necessary to discover whether those statements

were false or misleading.

       64.     As a result of the dissemination of the materially false and misleading information

and failure to disclose material facts, as set forth above, the market price of Fluor’s securities

was artificially inflated during the Class Period. In ignorance of the fact that market prices of

Fluor’s publicly-traded securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in

which the common stock trades, and/or on the absence of material adverse information that was

known to or recklessly disregarded by Defendants but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired

Fluor’s common stock during the Class Period at artificially high prices and were or will be

damaged thereby.

       65.     At the time of said misrepresentations and omissions, Plaintiff and other members

of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the



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other members of the Class and the marketplace known the truth regarding Fluor’s financial

results, which was not disclosed by Defendants, Plaintiff and other members of the Class would

not have purchased or otherwise acquired their Fluor securities, or, if they had acquired such

securities during the Class Period, they would not have done so at the artificially inflated prices

that they paid.

        66.       By virtue of the foregoing, Defendants have violated Section 10(b) of the

Exchange Act, and Rule 10b-5 promulgated thereunder.

        67.       As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s common stock during the Class Period.

        68.       This action was filed within two years of discovery of the fraud and within five

years of each plaintiff’s purchases of common stock giving rise to the cause of action.

                                          COUNT II
              The Individual Defendants Violated Section 20(a) of the Exchange Act

        69.       Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        70.       The Individual Defendants acted as controlling persons of Fluor within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions, agency, ownership and contractual rights, and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, the Individual Defendants had

the power to influence and control, and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements that Plaintiff contends are false and misleading. The Individual Defendants provided

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with or had unlimited access to copies of the Company’s reports, press releases, public filings

and other statements alleged by Plaintiff to have been misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or to

cause the statements to be corrected.

       71.     In particular, each of these Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, is presumed to have had the power to

control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.

       72.     As set forth above, Fluor, the Individual Defendants each violated Section 10(b),

and Rule 10b-5 promulgated thereunder, by their acts and omissions as alleged in this Complaint.

       73.     By virtue of their positions as controlling persons, the Individual Defendants are

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered damages in

connection with their purchases of the Company’s common stock during the Class Period.

       74.     This action was filed within two years of discovery of the fraud and within five

years of each Plaintiff’s purchases of common stock giving rise to the cause of action.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment as follows:

               (a)     Determining that this action is a proper class action, certifying Plaintiff as

                       class representative under Federal Rule of Civil Procedure 23 and

                       Plaintiff’s counsel as class counsel;

               (b)     Awarding compensatory damages in favor of Plaintiff and the other

                       members of the Class against all Defendants, jointly and severally, for all



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                      damages sustained as a result of the defendants’ wrongdoing, in an

                      amount to be proven at trial, including interest thereon;

             (c)      Awarding Plaintiff and the Class their reasonable costs and expenses

                      incurred in this action, including counsel fees and expert fees;

             (d)      Granting extraordinary equitable and/or injunctive relief as permitted by

                      law; and

             (e)      Such other and further relief as the Court may deem just and proper.

                                 JURY TRIAL DEMANDED

      Plaintiff hereby demands a jury trial.

Dated: May 24, 2018


                                               Local Counsel

                                               Respectfully Submitted,

                                               BRIAN LAUTEN, P.C.




                                               ________________________________
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